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 AFFIDAVIT FOR SERVICE OFPROCESS ON Tj.
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 ColnmonwealthofVirginia
 Va.Code j8.01-301,-3l0,-329,
                            -55-218.1;57-51




TO THE PERSON PREPARING THIS AFFIDAVIT:You mustcomply w ith the appropriate requirem entslisted on theback ofthisform .

Attachments.g jwarrant g jMotionforJudgmentg qGanaishmentSummons rxq..
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1,the undersigned Affiant,state underoath that:
gK1theabove-nameddefendant () 1
whoselastknownaddressis:gx)

              isanon-residentoftheCommonwealtllofVirginiaoraforeigncorporation andVirginiaCodei8.01-328.1(A)....... ,...
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NOTICETOTHERECIPIENT from the'
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                                                yofthecommonwealthofvirginia:
       You arebeing servedwith thisnotice and attached pleadingsunderSection 8.01-329 oftheCodeofVirginiawhich designates
       the Secretary ofthe Commonwealth asstattltory agentforServiceofProcess.The Secretary ofthe Com monwealth'sONLY
       responsibility isto mail,by certified mail,rettll
                                                       m receiptrequested,theenclosedpapersto you.Ifyou haveany questions
       concerning thesedocum ents,you may wish to seek advicefrom alawyer.
SERVICE OF PROCESS IS EFFECTIVE ON THE DATE THAT THE CERTIFICATE OF COM PLIAN CE IS FILED W ITH THE
ABOVE-NAM ED COURT.
                                                CERTIFICATE OF COM PLIANCE
 theundersigned,Clerk in the Office ofthe Secretal 'y ofthe Com monwealth,hereby cerlify thefollowing:
     On .......................!JAj...g..j'.2.g1i........................,Iegalserviceintheabove-styledcasewasmadetlpontheSecretal
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     receiptreqtlested,to the party designated to beserved willlprocessin theAffidavit.

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                                                                                                  SECRETARY OFTl'IE COSIMONWEALTI'I
 FORM DC-4l0 (FRONTIl1/07
